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 9                    IN THE UNITED STATES DISTRICT COURT

10                  FOR THE EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,               )   CR. NO. 11-254-GEB
12                                           )
                     Plaintiff,              )
13         v.                                )
                                             )   MOTION TO CONTINUE
14   COURTNEY LASHAWN WILLIAMS,              )   SENTENCING HEARING AND
                                             )   PROPOSED ORDER
15                   Defendant.              )
                                             )
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18        HEREBY, plaintiff United States of America moves that (1) the

19   sentencing hearing set for January 27, 2012 be vacated; and (2)

20   this Court schedule the hearing on February 10, 2012 at 9:00 a.m.

21   The undersigned counsel for the United States will be out of the

22   country on the current sentencing date, January 27, 2012.

23        HEREBY FURTHER, the undersigned counsel for the United States

24   certifies that she has spoken to defense counsel for the above

25   captioned defendant and said counsel has agreed to continue the

26   sentencing hearing for good cause and to ensure effective advocacy

27   on behalf of her client, the above referenced defendant.          The

28   undersigned counsel is further aware that the United States

      MOTION AND (PROPOSED) ORDER                                            1
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 1   Probation Officer assigned to the above referenced matter has no

 2   objection to the proposed continuance of the sentencing hearing.

 3

 4            1/11/2012
     DATED:                                  BENJAMIN WAGNER
 5                                           United States Attorney
                                             By:
 6                                                /S/ Michelle Rodriguez

 7                                           MICHELLE RODRIGUEZ
                                             Assistant U.S. Attorney
 8

 9                               *     *     *

10        IT IS SO ORDERED.

11   Dated:   January 11, 2012
12

13                                   GARLAND E. BURRELL, JR.
                                     United States District Judge
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      MOTION AND (PROPOSED) ORDER                                          2
